 Case: 3:22-cv-00100-MJN-CHG Doc #: 6 Filed: 04/22/22 Page: 1 of 2 PAGEID #: 188




                       IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION - DAYTON


OLWIN METAL FABRICATION LLC,                 )
                                             )   CASE NO. 3:22-CV-00100-MJN-CHG
                      Plaintiff,             )
       vs.                                   )   JUDGE MICHAEL J. NEWMAN
                                             )
MULTICAM, INC., et al.                       )   MAGISTRATE JUDGE CAROLINE
                                             )   H. GENTRY
                                             )
                      Defendants.            )
                                             )   DEFENDANT MULTICAM, INC’S
                                             )   JURY DEMAND
                                             )

       Pursuant to Federal Rule of Civil Procedure 38(b), MultiCam, Inc., hereby demands a

trial by jury on all on all issues triable by law before this Honorable Court in this matter. While

making this demand pursuant to the Federal Rules of Civil Procedure, Defendant MultiCam, Inc.

reserves its right to move to dismiss Plaintiff’s Amended Complaint.

                                                 Respectfully submitted,

This 22nd day of April, 2022                     s/ Kelly E. Mulrane
                                                 KELLY E. MULRANE (0088133),Trial Attorney
                                                 BENESCH, FRIEDLANDER, COPLAN &
                                                 ARONOFF LLP
                                                 41 S. High Street, Suite 2600
                                                 Columbus, Ohio 43215
                                                 Telephone: 614.223.9300
                                                 Facsimile: 216.363.4588
                                                 Email: kmulrane@beneschlaw.com

                                                 Peter Loh (pro hac vice forthcoming)
                                                 Foley & Lardner LLP
                                                 2021 McKinney Ave
                                                 Suite 1600
                                                 Dallas, Texas 75201

                                                 Attorneys for Defendant MultiCam Inc.
 Case: 3:22-cv-00100-MJN-CHG Doc #: 6 Filed: 04/22/22 Page: 2 of 2 PAGEID #: 189




                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 22nd day of April, 2022, I filed a copy of the foregoing by

CM/ECF, and served a copy of same by U.S. mail, postage prepaid, and electronic mail upon

counsel as follows:

       Richard L. Carr
       David M. Rickert
       Auman, Mahan & Furry
       110 North Main Street, Suite 1000
       Dayton, Ohio 45402-1738
       rlc@amfdayton.com
       dmr@amfdayton.com

       Attorneys for Plaintiff

       MultiCam Great Lakes Inc.
       C/o Mark Smith, Esq.
       Rhoades McKee PC
       55 Campau Avenue NW
       Suite 300
       Grand Rapids, Michigan 49504
       mrsmith@rhoadesmckee.com

       Defendant


                                            s/ Kelly E. Mulrane
                                            Kelly E. Mulrane (0088133), Trial Attorney

                                            One of the Attorneys for Defendant MultiCam Inc.
